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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS

 JENNILYN SALINAS, et al.,                        :
                                                  :    Case No. 6:21-cv-00162
          Plaintiffs,                             :
                                                  :    JUDGE ALAN D. ALBRIGHT
               v.                                 :
                                                  :    MAG. JUDGE JEFFREY MANSKE
 NANCY PELOSI, et al,                             :
                                                  :
         Defendants.                              :


 MOTION TO DISMISS OF DEFENDANTS OHIO GOVERNOR MIKE DEWINE AND
              OHIO SECRETARY OF STATE FRANK LAROSE

       Defendants Ohio Governor Mike DeWine and Ohio Secretary of State Frank LaRose

(together, the “Ohio Defendants”) move for dismissal pursuant to Fed. R. Civ. P. 12(b)(1) for lack

of subject-matter jurisdiction and Eleventh Amendment immunity, Fed. R. Civ. P. 12(b)(2) for

lack of personal jurisdiction, and Fed. R. Civ. P. 12(b)(6) for failure to state a claim. The grounds

for dismissal are set forth in the attached Memorandum in Support.

                                              Respectfully submitted,
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                                  MEMORANDUM IN SUPPORT

                            INTRODUCTION AND BACKGROUND

        This Court should deny all of Plaintiffs’ claims against the Ohio Defendants for multiple

reasons. First, Plaintiffs lack standing and their claims are moot, so the Court lacks subject-matter

jurisdiction over the entire case. Second, Plaintiffs’ claims against the Ohio Defendants are barred

by the Eleventh Amendment.           Third, this Court lacks personal jurisdiction over the Ohio

Defendants. Fourth, this Court should refrain from adjudicating Plaintiffs’ lawsuit under the

political-question doctrine. And finally, Plaintiffs fail to state any claim for which relief can be

granted against the Ohio Defendants. As a result, this Court should dismiss Plaintiffs’ Amended

Complaint.

        On January 18, 2021, Plaintiffs Latinos for Trump, Blacks for Trump, Joshua Macias, M.S.,

B.G., J.B., and J.J. filed a lawsuit similar to this one, requesting an injunction “to restrain all further

action . . . of the 117th Congress until trial upon the merits, and, upon a verdict for the Plaintiffs,

for the Court to order the 50 states to conduct a new federal election that conforms to the minimum

standards of [the Help America Vote Act of 2002].” Complaint, Latinos for Trump v. Sessions,

No. 6:21-cv-43 (W.D. Tex. Jan. 18, 2021), Doc. No. 1, ¶ 5. A little over a week later, the Court

ordered the plaintiffs to explain why the Court should not dismiss the Complaint for failure to state

a claim. Order to Show Cause, Latinos for Trump v. Sessions, No. 6:21-cv-43 (W.D. Tex. Jan. 27,

2021), Doc. No. 11 at 3.

        A few weeks after the Court’s Show Cause Order in Latinos for Trump v. Sessions,

Plaintiffs filed this lawsuit. 1 Doc. No. 1. The Ohio Defendants were not served with the Original



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 Plaintiffs here are not the same group of plaintiffs as in Latinos for Trump v. Sessions, but their
pleadings are signed by the same counsel who signed the Original Complaint in the Latinos for
Trump lawsuit. Compare Complaint, Latinos for Trump v. Sessions, No. 6:21-cv-43 (W.D. Tex.

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Complaint in this case, but Ohio Governor Mike DeWine was served with the Amended Complaint

on April 30, 2021. Plaintiffs state they are suing the Ohio Defendants in their official capacities.

Doc. No. 24-3 (“Pls.’ Ex. 3”) at 9 (stating that each of the Ohio Defendants are sued “as an

individual in his official capacity”). The only Ohio-specific allegations Plaintiffs allege against

the Ohio Defendants can be found in Exhibit 5 to the Amended Complaint, which contains a list

of various election-related news headlines for each of the 50 states. See generally Doc. No. 24-5

(“Pls.’ Ex. 5”). Exhibit 5 alleges no actions taken by the Ohio Governor. See id. at 21–22. As to

the Ohio Secretary of State, Exhibit 5 does not explain how any action allegedly taken by the

Secretary of State violated Plaintiffs’ federal rights. See id. Like Latinos for Trump, the Amended

Complaint in this case asserts violations of the Help America Vote Act of 2002 (“HAVA”), among

other alleged violations, and requests a redo of the 2020 General Election as well as monetary

damages. Doc. No. 24 (“Am. Compl.”), ¶¶ 1, 28.

                                   LAW AND ARGUMENT

I.     This Court Lacks Subject-Matter Jurisdiction Over the Entire Lawsuit.

       A.      Legal Standard

       Motions filed under Rule 12(b)(1) of the Federal Rules of Civil Procedure allow a party to

challenge the subject-matter jurisdiction of the district court to hear a case. Fed. R. Civ. P.

12(b)(1). On a Rule 12(b)(1) motion to dismiss, “the plaintiff constantly bears the burden of proof

that jurisdiction does in fact exist.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

“Lack of subject matter jurisdiction may be found in any one of three instances: (1) the complaint

alone; (2) the complaint supplemented by undisputed facts evidenced in the record; or (3) the

complaint supplemented by undisputed facts plus the court’s resolution of disputed facts.” Id.


Jan. 18, 2021), Doc. No. 1 at p. 54, with Complaint, Bravo v. Pelosi, No. 6:21-cv-162 (W.D. Tex.
Feb. 22, 2021), Doc. No. 1 at p. 60.


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“When a Rule 12(b)(1) motion is filed in conjunction with other Rule 12 motions, the court should

consider the Rule 12(b)(1) jurisdictional attack before addressing any attack on the merits.” Id.

       B.      Plaintiffs Lack Standing.

       Article III, Section 2 of the United States Constitution limits the jurisdiction of the federal

courts to resolving “cases” and “controversies.” U.S. Const. art. III, § 2; Raines v. Byrd, 521 U.S.

811, 818, 117 S. Ct. 2312 (1997). To establish standing, Plaintiffs must establish a “triad of injury

in fact, causation, and redressability.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 103,

118 S. Ct. 1003 (1998). More specifically, Plaintiffs must show they have suffered injury to a

legally protected interest, which injury is “fairly traceable to the challenged action and redressable

by a favorable ruling.” Ariz. State Legis. v. Ariz. Indep. Redistricting Comm’n, 576 U.S. 787, 800,

135 S. Ct. 2652 (2015).

       First, Plaintiffs cannot establish that they suffered an injury in fact. An injury in fact

requires a plaintiff to show the “invasion of a legally protected interest”; that the injury is both

“concrete and particularized”; and that the injury is “actual or imminent, not conjectural or

hypothetical.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016). Most easily, Plaintiffs’

alleged injuries are not cognizable because they are generalized grievances—the kind of injuries

that are “plainly undifferentiated and common to all members of the public.” Lance v. Coffman,

549 U.S. 437, 440–41, 127 S. Ct. 1194 (2007) (internal quotation marks omitted); id. at 442 (“The

only injury plaintiffs allege is that the law—specifically the Elections Clause—has not been

followed. This injury is precisely the kind of undifferentiated, generalized grievance about the

conduct of government that we have refused to countenance in the past.”); see also Gill v. Whitford,

138 S. Ct. 1916, 1923 (2018) (holding that an alleged injury must be “distinct from a ‘generally

available grievance about government’” (quoting Lance, 549 U.S. at 439)). The injuries Plaintiffs

allege—as asserted class representatives on behalf of every American—are allegedly common to


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every citizen of every state. But “[t]o have standing . . . a plaintiff must have more than a general

interest common to all members of the public.” Lance, 549 U.S. at 440 (internal quotation marks

omitted). Plaintiffs’ asserted injuries are not injuries in fact and do not convey standing.

       Second, Plaintiffs cannot establish the causation element of standing because their claimed

injuries are not “fairly traceable to the challenged action” of the Ohio Defendants. Ariz. State

Legis., 576 U.S. at 800. As discussed further below, Plaintiffs’ only Ohio-specific allegations in

the Amended Complaint do not explain how—let alone establish that—the Ohio Governor’s or

Secretary of State’s actions caused the alleged unauthorized election of all members of the 117th

Congress and the current Administration.

       Third, Plaintiffs’ asserted injuries are not “redressable by a favorable ruling.” Ariz. State

Legis., 576 U.S. at 800. Plaintiffs demand that this Court grant them “a new, constitutional federal

election.” Am. Compl. ¶ 1. But this Court lacks the power to do so—even if such a remedy were

warranted. The principal relief Plaintiffs seek would undermine a foundational premise of our

federalist system: the idea that the federal government has only those powers the Constitution gives

to it. Nothing in the Constitution empowers a federal district court to order a redo of an entire

national election. In the Federalist Papers, Alexander Hamilton stated that “there is no liberty, if

the power of judging be not separated from the legislative and executive powers.” The Federalist

No. 78 (Hamilton), p. 523 (Cooke, ed., 1961). Plaintiffs here seek “an unprecedented expansion

of judicial power . . . . into one of the most intensely partisan aspects of American political life.”

Rucho v. Common Cause, 139 S. Ct. 2484, 2507 (2019) (referring to partisan gerrymandering).

“That intervention would be unlimited in scope and duration—it would recur over and over

again”—indeed, with every national election.          Id.   There is no basis for “the politically




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unaccountable branch of the Federal Government assuming such an extraordinary and

unprecedented role.” Id. For all these reasons, Plaintiffs lack standing.

       C.      This Case Is Moot—And Barred by Laches.

       This untimely action is also moot, which is yet another reason why this Court lacks subject-

matter jurisdiction. Wolcott v. Sebelius, 635 F.3d 757, 774 (5th Cir. 2011). Plaintiffs filed their

Original Complaint in this case on February 22, 2021—111 days after the 2020 General Election.

See Doc. No. 1. Disenfranchising the more than one hundred fifty million Americans who voted

for the current office-holders Plaintiffs wish to unseat would severely undermine the public’s trust

in the electoral system and reward Plaintiffs for their almost four-month delay. It is too late to

reverse the results of the 2020 General Election, so Plaintiffs’ claims are moot. See Socialist Labor

Party v. Gilligan, 406 U.S. 583, 587–89, 92 S. Ct. 1716 (1972) (finding a challenge to an election

statute moot where election had occurred and it was unlikely the issue would recur).

       Relatedly, while not a jurisdictional defect like mootness, laches also bars the claims here,

given Plaintiffs’ nearly four-month delay in bringing this lawsuit. The defense of laches is rooted

in the principle that equity does not aid those who slumber on their rights. See United States v.

Clintwood Elkhorn Min. Co., 553 U.S. 1, 9, 128 S. Ct 1511 (2008) (“A constitutional claim can

become time-barred just as any other claim can.”). Courts commonly apply laches in election

cases. See Detroit Unity Fund v. Whitmer, 819 F. App’x 421, 422 (6th Cir. 2020); cf. Benisek v.

Lamone, 138 S. Ct. 1942, 1944 (2018) (“[A] party requesting a preliminary injunction must

generally show reasonable diligence. That is as true in election law cases as elsewhere.”).

Ordering a new general election more than six months after the 2020 election occurred would

certainly create “undue prejudice to the part[ies] against whom [Plaintiffs’] claim[s] [are]

asserted.” Envtl. Def. Fund, Inc. v. Alexander, 614 F.2d 474, 478 (5th Cir. 1980).




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II.    Eleventh Amendment Immunity Bars Plaintiffs’ Claims Against the Ohio
       Defendants.

       Plaintiffs’ claims against the Ohio Defendants are barred by the Eleventh Amendment.

“Dismissal under Rule 12(b)(1) is appropriate if a claim is barred by state sovereign or Eleventh

Amendment immunity.” Shaikh v. Tex. A&M Univ. Coll. of Med., 739 F. App’x 215, 217 (5th Cir.

2018) (citing Meyers v. Texas, 410 F.3d 236, 240–41 (5th Cir. 2005)). Eleventh Amendment

immunity applies to state officials sued in their official capacities for monetary damages. Kentucky

v. Graham, 473 U.S. 159, 165–66, 105 S. Ct. 3099 (1985); Hafer v. Melo, 502 U.S. 21, 25, 112 S.

Ct. 358 (1991). The Sixth Circuit has held that the State of Ohio has not waived its Eleventh

Amendment immunity, Wolfel v. Morris, 972 F.2d 712, 718 (6th Cir. 1992), and Congress did

not abrogate Ohio’s immunity when it enacted 42 U.S.C. § 1983. Quern v. Jordan, 440 U.S. 332,

338, 345, 99 S. Ct. 1139 (1979) (holding that § 1983 does not abrogate sovereign immunity). The

only other exception to Eleventh Amendment immunity is found in Ex parte Young, 209 U.S.

123, 28 S. Ct. 441 (1908), which applies when a plaintiff seeks injunctive relief against a state

official for ongoing violations of federal law. To overcome Eleventh Amendment immunity

under Ex parte Young, a plaintiff must allege “an ongoing violation of federal law and seek relief

properly characterized as prospective.” Idaho v. Coeur d’Alene Tribe, 521 U.S. 261, 281, 117 S.

Ct. 2028 (1997). The Ex parte Young exception does not apply when a plaintiff seeks relief for

“a past violation of federal law.” Simmons v. Smith, 774 F. App’x 228, 229 (5th Cir. 2019)

(quoting Papasan v. Allain, 478 U.S. 265, 278, 106 S. Ct. 2932 (1986)).

       Plaintiffs’ suit against the Ohio Defendants is a suit against the State of Ohio and is thus

barred by the Eleventh Amendment.         Plaintiffs sued the Ohio Defendants in their official

capacities. Pls’ Ex. 3 at 9. The State of Ohio has not agreed to this suit, and Congress has not

abrogated Ohio’s immunity in this instance. Plaintiffs seek monetary damages from the Ohio



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Defendants, including “General Damages . . . [and] Punitive Damages in an amount to be

determined at the time of trial.” Am. Compl. at p. 61. Plaintiffs also seek retrospective relief “in

the form of a new federal election for Congress, President, and Vice President,” for asserted

violations of federal law that allegedly occurred leading up to, during, and immediately following

the November 2020 election. Id. As that election is over, any relief based on that election would

necessarily be based on past violations. To the extent Plaintiffs may be requesting prospective

injunctive relief in the form of “forever restraining Defendants from violating Plaintiffs’

constitutional rights,” id., as discussed further below, Plaintiffs have not alleged sufficient facts

against the Ohio Defendants for this Court to infer any ongoing violation of federal law. Therefore,

the Ohio Defendants are immune from suit because the Eleventh Amendment bars Plaintiffs’

claims against them. Accordingly, this Court lacks jurisdiction under Fed. R. Civ. P. 12(b)(1).

III.    Plaintiffs’ Complaint Must Be Dismissed for Lack of Personal Jurisdiction over the
        Ohio Defendants.

        Plaintiffs have failed to sufficiently allege—nor can they sufficiently allege—that personal

jurisdiction exists over the Ohio Defendants. On a Rule 12(b)(2) motion to dismiss for lack of

personal jurisdiction, the plaintiff “bears the burden of establishing jurisdiction, but need only

present prima facie evidence.” Patterson v. Aker Sols. Inc., 826 F.3d 231, 233 (5th Cir. 2016)

(internal quotation marks omitted).        Courts accept as true the plaintiff’s uncontroverted

allegations. Id. (internal quotation marks omitted).

        Plaintiffs cannot show that the Ohio Defendants had any contact, let alone sufficient

contact, with the State of Texas. Absent a federal statute that provides for more expansive personal

jurisdiction, the personal jurisdiction of a federal district court is coterminous with that of a court

of general jurisdiction of the state in which the district court sits. Fed. R. Civ. P. 4(k)(1). The

Fifth Circuit has set forth that a federal court may exercise personal jurisdiction over a non-resident



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defendant if (1) the forum state’s long-arm statute confers personal jurisdiction over that

defendant; and (2) the exercise of personal jurisdiction comports with the Due Process Clause of

the Fourteenth Amendment. McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009). Texas’s long-

arm statute “extends as far as constitutional due process allows.” Id. Plaintiffs have not cited to a

federal statute that provides for more expansive personal jurisdiction, thus this Court should

proceed under the federal due process framework.

       The Due Process Clause of the Fourteenth Amendment guarantees that no federal court

may assume jurisdiction in personam of a non-resident defendant unless the defendant has

meaningful “contacts, ties, or relations” with the forum state. Int’l Shoe Co. v. Washington, 326

U.S. 310, 319, 66 S. Ct. 154 (1945). A state may authorize its courts to exercise personal

jurisdiction over an out-of-state defendant if the defendant has “certain minimum contacts with

[the State] such that the maintenance of the suit does not offend ‘traditional notions of fair play

and substantial justice.’” Daimler AG v. Bauman, 571 U.S. 117, 126, 134 S. Ct. 746 (2014)

(quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 923, 131 S. Ct. 2846

(2011)). A defendant should not “be haled into a jurisdiction solely as a result of ‘random,’

‘fortuitous,’ or ‘attenuated’ contacts, or of the ‘unilateral activity of another party or a third

person.’” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475, 105 S. Ct. 2174 (1985).

       Jurisdiction may be general or specific. A court may assert general jurisdiction over

foreign parties (either sister state or foreign country) to hear any and all claims against them when

their affiliations with the state are so continuous and systematic as to render them essentially at

home in the foreign state. Daimler, 571 U.S. at 127. Specific jurisdiction is very different. Bristol-

Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1780 (2017). For a court to exercise specific

jurisdiction, “the suit” must arise out of or relate to the defendant’s contact with the forum. Id. In




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other words, there must be an affiliation between the forum and the underlying controversy,

principally, an activity or an occurrence that takes place in the forum state and is therefore subject

to the state’s regulation. Id. For this reason, “specific jurisdiction is confined to adjudication of

issues deriving from, or connected with, the controversy that establishes jurisdiction. Id. In

determining whether personal jurisdiction is present, a court must consider a variety of interests,

but the primary concern is the burden on the defendant. Id.

       The Fifth Circuit has consolidated the specific-jurisdiction inquiry into a three-step

analysis: “(1) whether the defendant has minimum contacts with the forum state, i.e., whether it

purposely directed its activities toward the forum state or purposefully availed itself of the

privileges of conducting activities there; (2) whether the plaintiff’s cause of action arises out of or

results from the defendant’s forum-related contacts; and (3) whether the exercise of personal

jurisdiction is fair and reasonable.” Seiferth v. Helicopteros Atuneros, Inc., 472 F.3d 266, 271 (5th

Cir. 2006). “A plaintiff bringing multiple claims that arise out of different forum contacts of the

defendant must establish specific jurisdiction for each claim.” Id.

       Here, while Plaintiffs do not allege whether this Court has specific or general jurisdiction

over the Ohio Defendants, see Am. Compl. ¶ 71, a claim for either would fail. Plaintiffs do not

allege that the Ohio Defendants have continuous or systematic business contacts in Texas.

Likewise, Plaintiffs make no allegations that either the Ohio Governor or the Ohio Secretary of

State purposefully availed himself in Texas or purposefully directed conduct at the State of Texas

that had effects on the State. Plaintiffs have not argued that their claims arise out of the Ohio

Defendants’ forum-related activities (likely because there are none). Finally, Plaintiffs have not,

and cannot, show that jurisdiction here is reasonable, as the Ohio Defendants had no way to

anticipate that they would be required to litigate a case concerning the November 2020 election in




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the State of Texas. As a result, this Court lacks personal jurisdiction over the Ohio Defendants

and should dismiss Plaintiffs’ claims as they relate to those defendants.

IV.     The Political-Question Doctrine Also Warrants Dismissal of Plaintiffs’ Lawsuit.

        “Federal judges have no license to reallocate political power between the two major

political parties, with no plausible grant of authority in the Constitution, and no legal standards to

limit and direct their decisions.” Rucho, 139 S. Ct. at 2507. “In such a case the claim is said to

present a ‘political question’ and to be nonjusticiable—outside the courts’ competence and

therefore beyond the courts’ jurisdiction.” Id. at 2494. To that end, only those questions

“historically viewed as capable of resolution through the judicial process” are appropriate for

judicial review. Id. (internal quotation marks omitted). Here, there are no “judicially discoverable

and manageable standards for resolving” the case. Id. (quoting Baker v. Carr, 369 U. S. 186, 217,

82 S. Ct. 691 (1962)). Thus, this Court should refrain from adjudicating Plaintiffs’ lawsuit because

it fails to raise any “claim[] of legal right” that is “resolvable according to legal principles.” Id.

V.      On the Merits, Plaintiffs Fail to State Any Claim for Relief Against the Ohio
        Defendants.

        A.      Legal Standard

        To survive a motion to dismiss under Rule 12(b)(6), “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

544, 570, 127 S. Ct. 1955 (2007)). “To make out a plausible claim, the complaint must ‘plead[]

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.’” Singh v. RadioShack Corp., 882 F.3d 137, 144 (5th Cir. 2018)

(quoting Iqbal, 556 U.S. at 678). “[T]he pleading standard Rule 8 announces . . . demands more

than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678



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(quoting Twombly, 550 U.S. at 555). “A pleading that offers ‘labels and conclusions’ or ‘a

formulaic recitation of the elements of a cause of action will not do.’” Id. (quoting Twombly, 550

U.S. at 555). “Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further

factual enhancement.’” Id. (quoting Twombly, 550 U.S. at 557).

       B.      Plaintiffs’ § 1983 Claims Fail as a Matter of Law.

       Section 1983 provides a private cause of action for “the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws” of the United States. 42 U.S.C.

§ 1983. “Section 1983 is not itself a source of substantive rights, but merely provides a method

for vindicating federal rights elsewhere conferred.” Albright v. Oliver, 510 U.S. 266, 271, 114 S.

Ct. 807 (1994) (internal quotation marks omitted). Therefore, to prevail on a § 1983 claim, a

plaintiff “must assert the violation of a federal right, not merely a violation of federal law.”

Blessing v. Freestone, 520 U.S. 329, 340, 117 S. Ct. 1353 (1997).

       Plaintiffs’ asserted federal rights are difficult to decipher. Plaintiffs appear to allege rights

under HAVA, the Civil Rights Act of 1960, and the federal Due Process and Equal Protection

Clauses. None of these claims meet basic federal pleadings standards because Plaintiffs fail to

explain how the Ohio Defendants have violated any specific federal right under these federal laws

or constitutional provisions. Plaintiffs’ allegations are but “[t]hreadbare recitals of the elements

of a cause of action, supported by mere conclusory statements,” which “do not suffice.” Iqbal,

556 U.S. at 678. Federal pleadings standards require Plaintiffs to make out “plausible” claims. Id.

But “[t]o make out a plausible claim, the complaint must ‘plead[] factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.’”

Singh, 882 F.3d at 144 (quoting Iqbal, 556 U.S. at 678). And such factual allegations “must be

‘more than an unadorned, the defendant-unlawfully-harmed-me accusation.’” Id. (quoting Iqbal,

556 U.S. at 678).


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       While Plaintiffs list numerous constitutional violations in their Amended Complaint, they

fail to connect these violations to the facts pleaded against the Ohio Defendants. The only Ohio-

specific allegations Plaintiffs allege are buried in Exhibit 5 to the Amended Complaint, which

contains a laundry list of various election-related news headlines for each of the 50 states. Without

explaining how or why, Plaintiffs assert that this list of months-old election news shows “specific

violations of HAVA.” Am. Compl. ¶ 120. But none of the election news in Exhibit 5 comes close

to showing that the Ohio Defendants violated any federal right of Plaintiffs. See, e.g., Pls.’ Ex. 5

at 21–22. Exhibit 5 lists no actions whatsoever taken by the Ohio Governor. See id. As to the

Ohio Secretary of State, Plaintiffs allege principally that the Ohio Secretary of State permitted

Ohio counties “to offer multiple drop-off options for returning absentee/mail-in ballots” at a single

site in each county. See id. But Plaintiffs fail to explain how any action allegedly taken by the

Secretary of State violated Plaintiffs’ federal rights. See, e.g., id. at 21 (“State appeals court says

secretary of state has discretion to determine limits on absentee/mail-in ballot drop boxes[.]”).

Simply put, none of the Ohio-specific actions Plaintiffs allege amount to constitutional violations.

Plaintiffs’ § 1983 claims consist of conclusory assertions unmoored from the law and unconnected

to any specific actions of the Ohio Defendants. The claims must be dismissed.

       C.      Plaintiffs’ § 1985 and § 1986 Claims Fail as a Matter of Law.

       Section 1985(3) makes it illegal for two or more persons to conspire to deprive a person of

“the equal protection of the laws” or “equal privileges and immunities under the laws” or to

conspire to “prevent by force, intimidation, or threat, any citizen who is lawfully entitled to vote,

from giving his support or advocacy in a legal manner, toward or in favor of the election of any

lawfully qualified person as an elector for President or Vice-President, or as a member of Congress

of the United States.” Because § 1985 addresses equal-protection concerns, it requires, as an

element of the cause of action, “some racial, or perhaps otherwise class-based, invidiously


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discriminatory animus behind the conspirators’ action.” Griffin v. Breckenridge, 403 U.S. 88, 102,

91 S. Ct. 1790 (1971). Additionally, a person who knows that persons are conspiring to deprive

another of their civil rights in violation of § 1985, “ha[s] power to prevent or aid in preventing the

commission of the same, [and] neglects or refuses so to do” may be liable under 42 U.S.C. § 1986.

A § 1986 claim is dependent on the successful pleading of a § 1985 claim first. See Hamilton v.

Chaffin, 506 F.2d 904, 914 (5th Cir. 1975).

       Like their § 1983 claims, Plaintiffs’ § 1985 claim consists of nothing but conclusory

assertions unconnected to any specific actions of the Ohio Defendants. Plaintiffs also fail to

sufficiently plead the requisite class-based animus to which they and every single citizen of the

United States were allegedly subjected. As Plaintiffs failed to plead a successful § 1985 claim

against the Ohio Defendants, their § 1986 claim also necessarily fails as a matter of law.

       D.      Plaintiffs’ Bivens Claims Fail as a Matter of Law.

       In Bivens, the Supreme Court provided a judicially-created cause of action for damages

arising out of constitutional violations by federal officers, holding that “petitioner is entitled to

recover money damages for any injuries he has suffered as a result of the agents’ violation of the

Fourth Amendment.” Bivens v. Six Unknown Named Agents of the Fed. Bureau of Narcotics, 403

U.S. 388, 397, 91 S. Ct. 1999 (1971). The Fifth Circuit has recognized that “a Bivens action is

analogous to an action under § 1983—the only difference being that § 1983 applies to

constitutional violations by state, rather than federal, officials.” Evans v. Ball, 168 F.3d 856, 863

n.10 (5th Cir. 1999). Bivens actions may only be brought against government officials acting in

their individual capacities. Affiliated Prof’l Home Health Care Agency v. Shalala, 164 F.3d 282,

286 (5th Cir. 1999).

       Plaintiffs fail to state a claim against the Ohio Defendants under Bivens. As an initial

matter, the Ohio Defendants are state actors and Bivens claims apply only to federal actors. As


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already discussed, Plaintiffs’ claims against the Ohio Defendants are specifically for actions taken

in their official capacities, and Bivens claims do not extend to agents acting in their official

capacity. And finally, as already discussed, Plaintiffs have failed to show that the Ohio Defendants

violated any of their constitutional rights. Accordingly, Plaintiffs cannot successfully state a claim

against them under Bivens.

       Based on the arguments above, Plaintiffs have failed to state a claim against the Ohio

Defendants, and as a result, this Court should dismiss Plaintiffs’ claims as applied to them.

                                          CONCLUSION

       For the above reasons, Defendants Ohio Governor Mike DeWine and Ohio Secretary of

State Frank LaRose respectfully request this Court to dismiss Plaintiffs’ Amended Complaint.

                                               Respectfully submitted,

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                                               Ohio Attorney General

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 21, 2021, the foregoing was filed with the Court. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties for whom

counsel has entered an appearance. Parties may access this filing through the Court’s system.

                                              /s/ W. Travis Garrison
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